927 F.2d 595Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John O. ALLIN, M.D., Plaintiff-Appellant,v.PHP HEALTH CARE CORPORATION, John Bynus, Ron Jordison,Defendants-Appellees.
    No. 90-1141.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 21, 1990.Decided Feb. 25, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  James C. Cacheris, District Judge.  (CA-90-1021-A)
      John O. Allin, M.D., appellant pro se.
      Steven Mark Levine, Janice Gail Murphy, Wilson, Elser, Moskowitz, Edelman &amp; Dicker, Washington, D.C., A. Carter Hardage, Office of the Attorney General, Little Rock, Ark., for appellees.
      E.D.Va.
      DISMISSED.
      Before CHAPMAN, WILKINS and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      John O. Allin, M.D. appeals the district court's order dismissing his claims against two of the three defendants he sues.  We grant the appellees' motion to dismiss.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."    Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we grant the appellees' motion and dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      DISMISSED.
    
    